Case 4:24-cr-00143-GKF          Document 38 Filed in USDC ND/OK on 01/16/25                 Page 1 of 2




                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

  UNITED STATES OF AMERICA,                           )
                                                      )
                          Plaintiff,                  )
                                                      )
  v.                                                  ) Case No. 24-CR-143-GKF
                                                      )
  DONQUANYAY LE’MOYNE LUCAS,                          )
  a/k/a “Donquanyay Le’Moine Lucas,”                  )
  a/k/a “Don Don,”                                    )
  a/k/a “Mr. 150k,”                                   )
                                                      )
                          Defendant.                  )

                           PRELIMINARY ORDER OF FORFEITURE

          Now before the Court is the motion of the United States for a preliminary order of forfeiture

 (Dkt. # 37). Based upon defendant Donquanyay Le’Moyne Lucas’s guilty plea, plea agreement,

 and the record, the Court finds that the motion should be granted.

          Pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c), a preliminary order of forfeiture

 shall be entered whereby the following property is preliminarily forfeited to the United States and

 the forfeiture of such property shall be made part of defendant’s sentence and included in the

 judgment:

       AMMUNITION

       Approximately 32 rounds of Federal brand 10mm caliber ammunition.

          The United States shall publish notice of this Order and its intent to dispose of the property

 pursuant to 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32.2(b)(6). The United States shall also send

 notice to any person who reasonably appears to be a potential claimant with standing to contest

 the forfeiture in an ancillary proceeding.

          Upon the entry of this Order, the United States is authorized to seize or retain custody of

 the property in accordance with Fed. R. Crim. P. 32.2(b)(3).
Case 4:24-cr-00143-GKF          Document 38 Filed in USDC ND/OK on 01/16/25                Page 2 of 2




        Any person, other than defendant, asserting a legal interest in the property may, within

 thirty (30) days of the final publication of notice or the receipt of notice, whichever is earlier,

 petition the Court for a hearing to adjudicate the validity of the alleged interest.

        Following the Court’s disposition of any petition timely filed, a final order of forfeiture

 shall be entered. If a third-party petition to the property is not timely filed, the preliminary order

 of forfeiture becomes final as provided by Fed. R. Crim. P. 32.2(c)(2), and all right, title, and

 interest would vest in the United States for disposition according to law.

        IT IS THEREFORE ORDERED that, pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C.

 § 2461(c), the motion of the United States for a preliminary order of forfeiture (Dkt. # 37) is

 granted, and the referenced property is preliminarily forfeited to the United States.

        IT IS FURTHER ORDERED that the United States shall initiate proceedings necessary

 to protect third-party interests, if any, pursuant to and in accordance with Rule 32.2.

        DATED this 16th day of January, 2025.




                                                GREGORY K. FRIZZELL
                                                UNITED STATES DISTRICT JUDGE




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